           Case 1:21-cv-02131-CJN Document 40 Filed 06/06/22 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


US DOMINION, INC., et al.,

              Plaintiffs,

      v.                                            Civil Action No. 1:21-cv-02131 (CJN)

PATRICK BYRNE,

              Defendant.


                                   SCHEDULING ORDER

       Upon review of the Parties’ Joint Meet and Confer Statement and Proposed Scheduling

Order, the Court enters the following schedule to govern discovery:

    1. Deadline to Exchange Initial Disclosures under Fed. R. Civ. P. 26(a)(1): June 24, 2022

    2. Deadline to Serve Document Requests under Fed. R. Civ. P. 34: December 2, 2022

    3. Deadline for Completion of Fact Discovery: April 14, 2023

    4. Deadline for Proponents to Designate Expert Witnesses and Produce Expert Reports

       under Fed. R. Civ. P. 26(a)(2): May 26, 2023

    5. Deadline for Opponents to Designate Expert Witnesses and Produce Expert Reports

       under Fed. R. Civ. P. 26(a)(2): June 30, 2023

    6. Deadline for Proponents to Produce Responsive Expert Reports: August 4, 2023

    7. Deadline for Expert Depositions: September 22, 2023

    8. Status Conference: In-person Status Conference at 10:00am on Wednesday, October 4,

       2023

    9. Deadline to File Dispositive Motions: November 3, 2023

    10. Deadline to File Oppositions to Dispositive Motions: December 18, 2023


                                               1
        Case 1:21-cv-02131-CJN Document 40 Filed 06/06/22 Page 2 of 2




   11. Deadline to File Replies in Support of Dispositive Motions: January 17, 2024

It is so ORDERED.

DATE: June 6, 2022

                                                        CARL J. NICHOLS
                                                        United States District Judge




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